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              IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA


 DUANE & VIRGINIA LANIER TRUST, Individually
 and on Behalf of All Others Similarly Situated,

                                    Plaintiffs,
                                                                Case No. CIV-15-00634-
                        vs.                                     SLP

 SANDRIDGE ENERGY INC., et al.,

                                    Defendants.



DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
 THEIR OPPOSITION TO PLAINTIFFS’ CLASS CERTIFICATION MOTION
       Pursuant to Local Civil Rule 7.1(m), Defendants James D. Bennett, Matthew K.

Grubb, Tom L. Ward, SandRidge Mississippian Trust I, and nominal defendant

SandRidge Energy, Inc. respectfully submit this notice of supplemental authority in

further support of their opposition to Plaintiffs’ pending motion for class certification.

       When commencing this putative class action, Lead Plaintiff Duane & Virginia

Lanier Trust asserted that “[t]he statutes of limitations . . . for each of the claims alleged

herein has been tolled as a result of the filing of these claims in a purported class action in

this court titled In re SandRidge Energy, Inc. Securities Litigation, case no. No. 5:12-cv-

01341-W (the ‘SandRidge Energy Action’).” Dkt. 1 ¶ 84. Less than one month ago, on

June 11, 2018, the Supreme Court of the United States issued its opinion in China

Agritech, Inc. v. Resh, 138 S. Ct. 1800 (2018), which held that the tolling rule Plaintiffs

relied upon “does not permit the maintenance of a follow-on class action past expiration


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of the statute of limitations.” Id. at 1804, 1806. The Court’s ruling establishes a “blanket

no-tolling-of-class-claims-ever rule.” Id. at 1814 (Sotomayor, J., concurring).

       As explained in detail in Defendants’ motion for judgment on the pleadings filed

earlier today (Dkt. 215), the Supreme Court’s ruling that tolling does not extend to class

claims means that the claims asserted on behalf of class members in this action — all of

which were filed past the expiration of the statute of limitations — are time-barred. The

claims should therefore be dismissed, and Plaintiffs’ motion for class certification should

be denied as moot.



Dated: July 2, 2018                                   Respectfully Submitted,



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                         CERTIFICATE OF SERVICE

       I hereby certify that on July 2, 2018, I electronically transmitted the attached
document to the Clerk of the Court using the ECF system for filing, which will send
notification of such filing to all counsel registered through the ECF System.


                                        /s/ Thomas B. Snyder
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